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 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                        2:16-CR-057-LRH-VCF

 9                  Plaintiff,                      Amended Final Order of Forfeiture

10          v.

11 JIHAD ANTHONY ZOGHEIB,

12                  Defendant.

13         This Court found that Jihad Anthony Zogheib shall pay the in personam criminal
14 forfeiture money judgment of $815,475 pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2);

15 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(p). Superseding

16 Indictment, ECF No. 23; Memorandum in Support of Plea, ECF No. 132; Change of Plea,

17 ECF No. 140; Preliminary Order of Forfeiture, ECF No. 142.

18         This Court finds that on the government’s motion, the Court may at any time enter
19 an order of forfeiture or amend an existing order of forfeiture to include subsequently

20 located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

21 32.2(b)(2)(C).

22         The in personam criminal forfeiture money judgment amount of $815,475 complies
23 with Honeycutt v. United States, 137 S. Ct. 1626 (2017).

24         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
25 the United States recover from Jihad Anthony Zogheib the in personam criminal forfeiture

26 money judgment of $815,475 pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); 18

27 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(p).

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           Case 2:16-cr-00057-LRH-VCF Document 260 Filed 10/14/21 Page 2 of 2



 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

 2   copies of this Order to all counsel of record and three certified copies to the United States

 3   Attorney’s Office, Attention Asset Forfeiture Unit.
                                                        This is good LRH signature



 4          DATED October 12, 2021.

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 7                                               LARRY R. HICKS
                                                 UNITED STATES DISTRICT JUDGE
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